               Case 23-10831-MFW              Doc 910        Filed 01/12/24       Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                          Case No. 23-10831 (MFW)

                       Debtors.                           (Jointly Administered)

                                                          Re: Docket No. 863

                                CERTIFICATE OF NO OBJECTION

         The undersigned hereby certifies as follows:

         On December 22, 2023, Brown Rudnick LLP (“Brown Rudnick”), counsel to the Official

Committee of Equity Security Holders (the “Equity Committee”), appointed in the above-

referenced bankruptcy cases, filed the Third Monthly Fee Application of Brown Rudnick LLP, as

Counsel for the Official Committee of Equity Security Holders of Lordstown Motors Corp., et al.,

for Allowance of Interim Compensation and for Reimbursement of Disbursements Incurred for the

Period from November 1, 2023 through November 30, 2023 (the “Application”) [Docket No. 863].

The deadline to object to the Application was January 11, 2024 at 4:00 p.m. (ET).

         The undersigned further certifies that after reviewing the Court’s docket in this case, no

formal answer, objection, or other responsive pleading to the Application appears thereon.

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket

No. 181], no further order is required, and Brown Rudnick is entitled to receive payment of 80%

of its fees ($402,296.40) and 100% of its expenses ($6,134.04).




1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
           Case 23-10831-MFW   Doc 910    Filed 01/12/24   Page 2 of 2




Dated: January 12, 2024             MORRIS JAMES LLP

                                    /s/ Brya M. Keilson
                                    Eric J. Monzo (DE Bar No. 5214)
                                    Brya M. Keilson (DE Bar No. 4643)
                                    500 Delaware Avenue, Suite 1500
                                    Wilmington, DE 19801
                                    Telephone: (302) 888-6800
                                    Facsimile: (302) 571-1750
                                    E-mail: emonzo@morrisjames.com
                                    E-mail: bkeilson@morrisjames.com

                                    and

                                    BROWN RUDNICK LLP
                                    Robert J. Stark, Esq. (admitted pro hac vice)
                                    Bennett S. Silverberg, Esq. (admitted pro hac vice)
                                    Seven Times Square
                                    New York, NY 10036
                                    Telephone: (212) 209-4800
                                    Fax: (212) 209-4801
                                    Email: rstark@brownrudnick.com
                                    Email: bsilverberg@brownrudnick.com

                                    and

                                    Matthew A. Sawyer (admitted pro hac vice)
                                    One Financial Center
                                    Boston, MA 02111
                                    Telephone: (617) 856-8200
                                    Facsimile: (617) 856-8201
                                    Email: msawyer@brownrudnick.com

                                    Counsel to the Official Committee of Equity
                                    Security Holders




                                    2
